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                                    UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                  CIVIL COVER SHEET


VIII( a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? li'No                   DYes
lfyes, list case number(s): - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? !i'No                  DYes
If yes, list case number(s): - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) D A. Arise from the same or closely related transactions, happenings, or events; or
                                 DB. Call for determination of the same or substantially related or similar questions oflaw and fact; or
                                 D C For other reasons would entail substantial duplication oflabor if heard by different judges; or
                                 D D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a)   List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
D     Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).
  County in this District:*                                                                  California County outside of this District; State, if other than California; or Foreign Country
Los Angeles County (Hot's Restaurant Group, Inc.)                                           Canada (Association des Eleveurs de Canards et d'Oies du Quebec)
                                                                                            New York (HVFG LLC)



(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
D Check here if the government, its a11encies or employees is a named defendant. If this box is checked, go to item (c).
  County in this District:*                                                                  California County outside of this District; State, if other than California; or Foreign Country
Los Angeles County (State of California); Sacramento County (Edmund
 G. Brown and Kamala J. Harris)



(c)   List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
      Note· In land condemnation cases, use the location of the tract ofland involved
  County in this District:*                                                                  California County outside of this District; State, if other than California; or Foreign Country
Los Angeles County




      Notice to Counsei/Parties: The CV -71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
      or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
      but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases:

                Nature of Suit Code       Abbreviation         Substantive Statement of Cause of Action


                861                       HIA                  All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
                                                               Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
                                                               program. (42 U.S.C. 1935FF(b))

                862                       BL                   All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
                                                               (30 U.S.C. 923)

                863                       DIWC                 All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
                                                               amended; plus all claims filed for child's insurance benefits based on disability. (42 U.S.C 405(g))

                863                       DIWW                 All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
                                                               Act, as amended. (42 U.S. C. 405(g))

                864                       SSID                 All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
                                                               Act, as amended.

                865                       RSI                  All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
                                                               U.S. C. (g))


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